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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No. 1:05-cr-18

v.                                                         HON. JANET T. NEFF

DUAYNE SAFFORE,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Duayne Saffore has filed a motion for modification or reduction of sentence (Dkt

291) pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States Sentencing

Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to cocaine base (crack

cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective November

1, 2011. U.S.S.G. § 1B1.10(c).

       However, the defendant is ineligible. Defendant was sentenced as a career offender under

U.S.S.G. § 4B1.1 and the amendments are of no assistance to him. The applicable guideline range

has not been lowered as a result of the amendment to the Sentencing Guidelines. See United States

v. Bridgewater, 606 F.3d 258, 260-01 (6th Cir. 2010); United States v. Washington, 584 F.3d 693,

700-01, (6th Cir. 2009).
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 291) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.

       IT IS FURTHER ORDERED that defendant’s request for court appointed counsel is also

DENIED.


DATED: January 27, 2012                           /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge




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